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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION



Cynthia Applebaum, Warren Black, Anita
Matlock, Patrick Ridgeway, and William
Sly, individually and on behalf of all
others similarly situated,
                                            Case No. 2:14-cv-13005-AC-MKM
            Plaintiffs,                     Hon. Avern Cohn
vs.


MGM Grand Detroit, LLC.,

          Defendant.
_________________________________________________________________/

 ORDER GRANTING FINAL APPROVAL TO SETTLEMENT OF CLASS
      ACTION AND DISMISSING ACTION WITH PREJUDICE

      On May 4, 2016 this Court entered an Opinion and Order Granting

Plaintiffs’ Motions for Court’s   Preliminary    Approval    of   the   Settlement

Agreement and Plan of Allocation (Dkt. # 42). In that Order this Court

preliminarily approved settlement of this collective action brought under the Fair

Labor Standards Act (“FLSA”) 29 U.S.C. § 201 et seq. for a total, aggregate sum

of $450,000, inclusive of attorney fees and costs; preliminarily approved the

terms of the Settlement Agreement into which the parties entered to achieve

that settlement; preliminarily approved the plan of allocation, the Notices, the

Claim and Consent form, Class Participation form, Exclusion form, and Non-
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Participant forms; approved payment to be made to the Third Party Administrator

of $7,500.00. The Court reserved judgment on the claim for Plaintiffs’ counsel of

fees and costs totaling $162,500. Since that time, Plaintiff has filed a Petition to

Approve Fees and Costs (Dkt.# 44).

      The Court having reviewed the filings by the Parties and otherwise being

duly advised in the premise.

       IT IS ORDERED:

      1.      All approvals preliminarily conferred in the prior Order are

hereby confirmed and made final. In particular, the Settlement Agreement,

including its attachments, and Plaintiffs’ proposed plan of allocation are

unconditionally and finally approved, except as set forth in Paragraph 2 below.

      2.      The Reversionary and Unclaimed Funds as defined by the

Settlement Agreement, estimated by the Settlement Administrator to be equal to

the sum of $25,354.74 (Dkt. # 45, ¶ 16), shall be paid by the Defendant to the

Latin Americans for Social and Economic Development (“LA SED”), a

Michigan based 501(c)(3).

      3.      Plaintiff’s Petition for Attorney Fees and Costs is allowed.

      4.      The Collective Action is certified and confirmed.

      5.      All individuals who have not timely filed an exclusion form are

hereby bound by the terms of the Settlement.

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       6.     This Action is hereby dismissed with prejudice, without costs

to either party, as to all plaintiffs, including all of the named plaintiffs and opt-in

plaintiffs.

       7.     The Court shall retain jurisdiction through and until the

administrator’s report for the limited purpose of entertaining requests for the

entry of any orders necessary for the enforcement of the settlement.

        IT IS SO ORDERED.

                                         s/Avern Cohn
                                         Hon. Avern Cohn
                                         United States District Court Judge

Dated: July 25, 2016




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